                              THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                      ASHEVILLE DIVISION
                             CRIMINAL CASE NO. 1:06-cr-00031-MR-DLH


              UNITED STATES OF AMERICA,        )
                                               )
                   vs.                         )                     ORDER
                                               )
              TRACY WILLIAM ALLEN.             )
              ________________________________ )

                      THIS MATTER is before the Court pursuant to 18 United States Code

              § 3582(c)(2) and U.S.S.G. § 1B1.10(c), Amendment 782 (Nov. 1, 2014).

                      The Defendant has filed a motion for a reduction of his sentence. [Doc.

              310]. The Probation Office has submitted a supplement to the Defendant’s

              Presentence Report (“PSR”) in this matter. [Doc. 338]. Based thereon, the

              Court determines that the United States Attorney should provide the Court

              with its position regarding the PSR supplement.

                      IT IS, THEREFORE, ORDERED that no later than thirty (30) days from

              the entry of this Order, the United States Attorney shall file a pleading

              responsive to the Probation Officer’s PSR supplement filed in this matter.

                      IT IS SO ORDERED.

Signed: May 6, 2015




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